       Case 5:21-cv-00964-JKP-RBF Document 10 Filed 01/14/22 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


ELIZABETH MONTALVO,                               §
                                                  §
                   Plaintiff,                     §               5-21-CV-00964-JKP-RBF
                                                  §
vs.                                               §
                                                  §
SPECIALIZED LOAN SERVICING LLC,                   §
U.S. BANK NATIONAL ASSOCIATION,                   §
                                                  §
                   Defendants.                    §

                                     SCHEDULING ORDER

       The disposition of this case will be controlled by the following order. In accordance with
Federal Rule of Civil Procedure 6(a), if a deadline set in this order falls on a weekend or a
holiday, the effective day will be the next business day.

1. Parties shall make initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1). To
   the extent a defendant knows the identity of a responsible third party contemplated by Texas
   Civil Practices & Remedies Code § 33.004, such identity is subject to disclosure under Rule
   26(a)(1)(A)(i).

2. Parties asserting claims for relief may submit a written offer of settlement to opposing parties
   on or before May 16, 2022, and each opposing party may respond, in writing on or before
   May 30, 2022. All offers of settlement are to be private, not filed. The parties shall retain any
   written offers of settlement and response, as the Court will use these in assessing attorneys’
   fees and costs at the conclusion of the proceedings. At any time, if any parties reach a
   settlement, they should immediately notify the Court by filing a joint advisory. The joint
   advisory shall state the parties who reached the settlement and whether a settlement
   conference is required or desired. If a hearing is requested, the parties shall confer and
   provide mutually agreeable potential dates for the hearing.

3. On or before May 2, 2022, the parties shall file any motion seeking leave to amend pleadings
   or join parties. To the extent it may apply in this case, the deadline for Defendant(s) to file a
   motion to designate responsible third parties, pursuant to Texas Civil Practices & Remedies
   Code § 33.004(a), is May 2, 2022.

4. Parties asserting claims for relief shall file their designation of testifying experts and serve on
   all parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B),
   on or before June 6, 2022.


                                                  1
       Case 5:21-cv-00964-JKP-RBF Document 10 Filed 01/14/22 Page 2 of 4




5. Parties resisting claims for relief shall file their designation of testifying experts and serve on
   all parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B),
   on or before July 11, 2022.

6. Parties shall file all designations of rebuttal experts and serve on all parties the material
   required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the
   extent not already served, within fourteen days of receipt of the report of the opposing expert.

7. The deadline to file supplemental expert reports required under Federal Rule of Civil
   Procedure 26(e)(2) is at least 30 days before trial. The parties are advised any report filed
   under this deadline may only supplement the initial report and may not introduce new
   opinion or subject matter. This deadline is not intended to provide an extension of the
   deadline by which a party must deliver the substance of its expert information or opinion.

8. Parties shall initiate all discovery procedures in time to complete discovery on or before
   August 1, 2022. Written discovery requests are not timely if they are filed so close to this
   deadline that under the Federal Rules of Civil Procedure the response would not be due until
   after the expiration of the deadline. See Local Rule CV-16. Counsel may by agreement
   continue discovery beyond the deadline. The parties are advised that should they agree to
   extend discovery beyond the deadline, there will be no intervention by the Court except in
   exceptional circumstances. No trial setting or other deadline set forth herein will be vacated
   due to information obtained in post-deadline discovery. See Local Rule CV-7.

9. The parties shall complete ADR in compliance with Rule CV-88 by October 3, 2022. A
   motion objecting to ADR must be filed not later than 60 days before that deadline.
10. On or before August 16, 2022, the parties shall file any Daubert motions and challenge to or
    motion to exclude expert witnesses. Any such motion must specifically state the basis for the
    objection and identify the objectionable testimony.

11. On or before August 29, 2022, parties shall file any dispositive motions, including motions
    for summary judgment on all or some of the claims. Further, notwithstanding any deadline
    provided herein, no motion (other than a motion in limine) may be filed after this date except
    for good cause.

12. The Court will set dates for trial and the final pretrial conference after ruling on any
    dispositive motions or after the deadline for such motions passes without a pertinent filing.
    At that time, the Court will also set appropriate deadlines for trial and pretrial conference
    matters.

13. If at any time during the pendency of this lawsuit, you would like to consent to the trial of
    your case by a United States Magistrate Judge, please indicate your consent on the attached
    form or request a form through the Clerk’s Office. If all parties consent to trial of this case by


                                                  2
   Case 5:21-cv-00964-JKP-RBF Document 10 Filed 01/14/22 Page 3 of 4




a United States Magistrate Judge, the District Court may enter an order referring the case to a
United States Magistrate Judge for trial and entry of judgment.

IT IS SO ORDERED.


SIGNED this 14th day of January, 2022.




                                      RICHARD B. FARRER
                                      UNITED STATES MAGISTRATE JUDGE




                                            3
       Case 5:21-cv-00964-JKP-RBF Document 10 Filed 01/14/22 Page 4 of 4




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


ELIZABETH MONTALVO,                              §
                                                 §
                  Plaintiff,                     §              5-21-CV-00964-JKP-RBF
                                                 §
vs.                                              §
                                                 §
SPECIALIZED LOAN SERVICING LLC,                  §
U.S. BANK NATIONAL ASSOCIATION,                  §
                                                 §
                  Defendants.                    §

                      CONSENT TO PROCEED TO TRIAL BEFORE
                       A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above-
captioned civil matter hereby waive their rights to proceed before a judge of the United States
District Court and consent to have a United States Magistrate Judge conduct any and all further
proceedings in the case, including the trial, and order the entry of judgment. Any appeal shall be
taken to the United States Court of Appeals for this judicial circuit, in accordance with 28 U.S.C.
§ 636(c)(3).



____________________________                 By:____________________________
Party                                              Attorney

____________________________                 By:_____________________________
Party                                              Attorney
____________________________                 By:_____________________________
Party                                              Attorney
       APPROVED this the ______ day of _________________, 20__.



                                              _________________________________________
                                              JASON PULLIAM
                                              UNITED STATES DISTRICT JUDGE
